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                    Exhibit A
                      Case 3:18-md-02843-VC Document 202-2 Filed 11/21/18 Page 2 of 13


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           13
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
           14
                                                    COUNTY OF SAN MATEO
           15
                 LEAH BALLEJOS, AUDREY ELLIS, and             CASE NO. 18-CIV-03607
           16    TAMEIKA MARTIN,
                                                             DEFENDANT'S NOTICE OF MOTION AND
           17                         Plaintiffs,            MOTION TO STAY PROCEEDINGS
                                                             PENDING MULTIDISTRICT LITIGATION;
           18           V.                                   MEMORANDUM OF POINTS AND
                                                             AUTHORITIES
           19    FACEBOOK, INC., a Delaware corporation,
                 and DOES 1 through 100,                     [Declaration ofJoshua Lipshutz and [Proposed]
           20                                                Order Granting Defendant's Motion to Stay
                                      Defendants.            Proceedings Pending Multidistrict Litigation
           21                                                Filed Concurrently]
           22                                                Department:        Not assigned

           23                                                Honorable Judge: Not assigned

           24                                                 Complaint Filed: July 11, 2018
           25                                                Hearing Date:      August 20, 2018
                                                             Hearing Time:      9:00 a.m.
           26

           27                                                Trial Date:        None set

           28

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                                                  CASE NO. No. l 8-CIV-03607
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             1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

             2          PLEASE TAKE NOTICE that on August 20, 2018 at 9:00 a.m., or as soon thereafter as the

             3   matter can be heard in the San Mateo County Superior Court, Southern Branch, located at 400

             4   County Center, Redwood City, California 94063, Defendant Facebook, Inc. will and hereby does

             5   move for an order staying proceedings in this action pending the completion of a related multidistrict

             6   litigation currently pending in the United States District Court for the Northern District of California.

             7          This Motion is based on this Notice of Motion, the accompanying Memorandum of Points

             8   and Authorities, the accompanying Declaration of Joshua Lipshutz and exhibits thereto, all records

             9   and pleadings on file with the Court in this matter, all other matters of which the Court may take

           10    judicial notice, and all further evidence and argument that may be presented in Reply to any

           11    Opposition to this Motion or at or before the hearing on this matter.

           12

           13    Dated: July 27, 2018                          GIBSON, DUNN & CRUTCHER LLP

           14

           15                                                  By: --'--!=s/-"Jc.-=o=sh=u=ac:...:L=i=p-=sh=u=t=z_ _ _ _ _ __
                                                                                  Joshua Lipshutz
           16
                                                               Attorneys for Defendant Facebook, Inc.
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             1                          MEMORANDUM OF POINTS AND AUTHORITIES

            2           Defendant Facebook, Inc. respectfully requests that the Court stay this action pending the

            3    conclusion of pretrial proceedings in the federal multidistrict litigation, Face book, Inc. Consumer

            4    Privacy User Profile Litigation, 18-MD-2843-VC (the "MDL"), currently pending in the United

            5    States District Court for the Northern District of California, before the Hon. Vince Chhabria.

            6           The California Supreme Court has made clear that "a strong policy of comity" favors staying

            7    a California state court action where a parallel action raising the same claims is already pending in a

            8    federal district court, especially where the federal action is also in California. (Thomson v. Cont 'l

            9    Ins. Co. (1967) 66 Cal.2d 738, 747.) A stay of this action pending the concurrent federal MDL would

           10    further these comity interests because Plaintiffs' claims are substantially similar to, and subsumed

           11    within, the consolidated set of consumer class actions that are currently being handled by Judge

           12    Chhabria through the federal MDL.

          13            The present action covers the identical subject matter to that addressed by the federal MDL,

           14    and asserts the same claims and bases for relief. Following recent press reports describing

           15    Cambridge Analytica' s alleged misuse of Facebook user data, dozens of complaints were filed in

           16    various federal district courts against Facebook and others. Almost all of those cases have now been

           17    consolidated in the MDL and are pending in the Northern District of California before Judge

           18    Chhabria. The actions included in the MDL invoke the same legal theories, founded on the same

           19    factual allegations that Plaintiffs present here, and those actions include claims for the same

          20     declaratory and injunctive relief that Plaintiffs seek in this action. Plaintiffs also fall squarely within

          21     the class definitions of the federal court actions, which asse1i putative nationwide classes of Facebook

          22     users like the three California Plaintiffs here. Like the complaint here, most of the federal MDL

          23     actions allege violations of California's Unfair Competition Law, Business & Professions Code

          24     § 17200 et seq. ("UCL"), and many also assert misrepresentation claims indistinguishable from

           25    Plaintiffs' claim under Business & Professions Code § 17500. Given the overlapping nature of these

           26    actions, pretrial proceedings in the MDL will address and resolve the same threshold legal and

           27    discovery issues that this action presents. Allowing this nearly identical action to proceed in parallel

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            1    with the federal proceedings would raise serious comity concerns, including by defeating the

            2    efficiency and fairness interests that the federal MDL statutes are designed to promote.

            3           As the Supreme Court made clear in Thompson, this Court has the inherent power to stay

            4    cases before it, and this Court should exercise its discretion to stay this case. This case is a perfect

            5    candidate for a stay given the substantial overlap between its allegations and the allegations in the

            6    first-filed MDL actions, and the absence of any inconvenience or prejudice to the plaintiffs in this

            7    action. All of the relevant factors counsel in favor staying this action pending resolution of the MDL:

             8   The parallel federal forum is also in California, where 20 of the MDL actions were originally filed, so

            9    there would be no need for any parties to travel to another state to monitor the MDL proceedings; a

           10    stay would help prevent conflicts between state and federal courts; the federal forum is well-

           11    positi~ned to determine the rights of the parties; and a stay would promote judicial economy. And

           12    there is no prejudice to Plaintiffs: The MDL involves at least one identical claim against the same

           13    defendant based on the same alleged conduct, and when the MDL concludes-either after pretrial

           14    dismissal or upon remand of the consolidated cases to their original jurisdictions for trial, see 28

           15    U.S.C. § 1407(a)-Plaintiffs may pursue any remaining claims against Facebook at that time.

           16                                 RELEVANT FACTUAL BACKGROUND
           17           Plaintiffs, three California individuals who allege that they are Facebook users, filed this

           18    action on July 11, 2018, asse1iing claims against Facebook pursuant to the UCL and California's false

           19    advertising law, Bus. & Prof. Code§ 17500 et seq. Plaintiffs' claims arise out ofrecent press reports

          20     describing Cambridge Analytica's alleged misuse of Facebook user data. In connection with their

          21     claims, Plaintiffs seek declaratory and injunctive relief against Facebook for allegedly failing to take

          22     sufficient steps to protect user data. Plaintiffs do not seek monetary damages.

          23            These claims asserted by Plaintiffs here are identical to those included within the federal

          24     MDL, which consists of dozens of virtually identical actions filed against Facebook arising out of

          25     these same facts. To date, 31 consumer actions alleging harm to Facebook users from the alleged

           26    misuse of their data already have been filed in federal courts around the country. Due to the near-

           27    complete overlap among these consumer cases, on March 30, 2018, the plaintiffs in one of the

           28    consumer actions moved to establish an MDL in the Northern District of California, where 20

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               1   consumer actions eventually were filed. (MDL No. 2843, Dkt. 1 (J.P.M.L. Mar. 30; 2018).) On June

               2   6, 2018, the Judicial Panel for Multidistrict Litigation granted the motion and transferred eight

               3   actions I to the Northern District of California for coordinated or consolidated pretrial proceedings,

               4   and assigned the MDL to Judge Vince Chhabria. (Ex. A [J.P.M.L. Transfer Order].)2 On June 8,

               5   2018, the Panel issued a conditional transfer order, transferring six additional cases 3 to the Northern

               6   District of California (MDL No. 2843, Dkt. 142 (J.P.M.L. June 8, 2018) and later transferred two

               7   more cases 4 (id., Dkt. 156 (J.P.M.L. July 5, 2018)). The MDL is now pending before Judge

               8   Chhabria, who already has held a case management conference to address the appointment of lead

               9   counsel and the schedule for the filing of a consolidated complaint and motions to dismiss. (See Ex.

           10      B [MDL Pre-Trial Order No. l].)

           11              This action and the MDL actions arise from the same alleged facts. Each alleges that

           12      Cambridge Analytica and/or a third-party app developer named Aleksandr Kogan obtained data from

           13      Facebook users when they agreed to take a personality test offered by Kogan's app. (See, e.g.,

           14      Ballejos Compl. 1143-44; Ex. C [Price Compl.] 1111-13; Ex. D [Beiner Compl.] 126.) Almost all

           15      of the complaints assert that this data allegedly was obtained via that app, which was called

           16      "thisisyourdigitallife." (See, e.g., Ballejos Compl. 12; Ex. C [Price Compl.] 111; Ex. D [Beiner

           17      Compl.] 127.) Each alleges that Cambridge Analytica later obtained Facebook user data relating to

           18      the individuals who agreed to take the personality test, as well as data relating to their Facebook

           19      "friends"-all contrary to Facebook's terms and policies prohibiting apps such as Kogan's from
           20
                    1
                        Price v. Facebook, Inc., No. 3:18-CV-01732 (N.D. Cal.) (filed Mar. 20, 2018); Rubin v.
           21           Facebook, Inc., No. 3:18-CV-01852 (N.D. Cal.) (filed Mar. 26, 2018); Gennockv. Facebook,
                        Inc., No. 3:18-CV-01·891 (N.D. Cal.) (filed Mar. 27, 2018); O'Kelly v. Facebook, Inc., No. 3:18-
           22           CV-01915 (N.D. Cal.) (filed Mar. 28, 2018); Beiner v. Facebook, Inc., No. 3:18-CV-1953 (N.D.
                        Cal.) (filed Mar. 29, 2018); Con?forte v. Cambridge Analytica, No. 1:18-CV-02120 (N.D. Ill.)
           23           (filed Mar. 22, 2018); Malskoffv. Facebook, Inc., No. 2:18-CV-04451 (D.N.J.) (filed Mar. 27,
                        2018); Lodowski v. Facebook, Inc., No. 4:18-CV-00907 (S.D. Tex.) (filed Mar. 23, 2018).
           24       2
                        "Ex." refers to the exhibits attached to the Declaration of Joshua Lipshutz filed concurrently.
           25       3
                        Williams v. Facebook, Inc., 2:18-CV-00535 (N.D. Ala.) (filed April 4, 2018); O'Hara
                        v. Facebook, Inc., 8:18-CV-00571 (C.D. Cal.) (filed April 4, 2018); Redmondv. Facebook, Inc.,
           26           1:18-CV-00531 (D. Del.) (filed April 10, 2018); Skotnicki v. Facebook, Inc., 1:18-CV-00655 (D.
                        Del.) (filed April 31, 2018); Burton v. Facebook, Inc., 2: 18-CV-02105 (C.D. Ill.) (filed April 12,
           27           2018); Foxx v. Facebook, Inc., 1:18-CV-02667 (N.D. Ill.) (filed April 12, 2018).
                    4
           28           Reninger v. Facebook, Inc. 1:18-CV-04332 (N.D. Ill.) (filed June 21, 2018); Kopecky
                        v. Facebook, Inc., 18-CV-02573 (E.D. Pa.) (filed June 19, 2018).
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             1   selling or transferring data obtained from Facebook users. (See, e.g., Ballejos Compl. ,i,i 48, 75;

            2    Ex. C [Price Compl.] ,i 15; Ex. D [Beiner Compl.] ,i 4.) Each alleges that Facebook took insufficient

            3    steps to confirm that Kogan and/or Cambridge Analytica deleted this data as demanded by Facebook.

            4    (See, e.g., Ballejos Compl. ,i,i 46-47; Ex. C [Price Compl.] ,i,i 18-19; Ex. D [Beiner Compl.] ,i 52.)

            5    And each alleges that Cambridge Analytica apparently used the data to target adve1iisements in

            6    connection with the 2016 U.S. Presidential election. (See, e.g., Ballejos Compl. ,i 48; Ex. C [Price

            7    Compl.] ,i,i 7, 1O; Ex. D [Beiner Compl.] ,i 52). The nearly identical factual allegations in these

             8   complaints all appear to be copied from the same two news reports~articles in The New York Times

            9    and The Guardian published on March 17, 2018.

           10           In addition to sharing common factual allegations, this action asserts the same underlying

           11    legal theories as the MDL actions. All of the actions name Facebook as a defendant. All actions

           12    allege that Cambridge Analytica and other actors wrongfully exploited Facebook's platform to obtain

           13    data that they used for unauthorized purposes, that Facebook should have done more to prevent these

           14    wrongs, and that Facebook users were harmed as a result. (See, e.g., Ballejos Compl. ,i,i 2, 3, 72;

           15    Ex. C [Price Compl.] ,i,i 4, 40; Ex. D [Beiner Compl.] ,i,i 1, 53-56, 67). And most actions allege

           16    violations of state consumer protection laws-including, in the majority of cases, the same California

           17    statute being invoked by Ballejos. (See, e.g., Ballejos Compl. ,i,i 66-72 [alleging UCL violation];

           18    Ex. C [Price Compl.] ,i,i 34-41 [same]; Ex. D [Beiner Compl.] ,i,i 98-104 [same]; Ex. E [Rubin

           19    Compl.] ,i,i 83-91 [same]; Ex. F [O'Kelly Compl.] ,i,i 45-52 [same].) And although many of the

          20     federal actions also name Cambridge Analytica itself as a defendant, that entity is now in bankruptcy,

          21     so the automatic stay triggered by the bankruptcy filing has stayed all of those claims, and would

          22     preclude the assertion of these claims here absent bankruptcy court approval.

          23            This action also seeks the same relief as is sought in the MDL actions. Like this action, all of

          24     the MDL complaints request injunctive relief. (See, e.g., Ballejos Compl. at pp. 28-29 [requesting

          25     injunctive relief based on alleged UCL violation]; Ex. C [Price Compl.] ,i 46 [same]; Ex. F [O'Kelly

           26    Compl.J ,i 52 [same]; Ex. E [Rubin Compl.] ,i,i 70-71, 89 [requesting nearly identical specific

           27    injunctive relief as Ballejos].) And, like this action, many MDL complaints seek declaratory relief.

           28    (See, e.g., Ballejos Compl. ,i 10, p. 28 [seeking "declaration that Facebook has engaged in unlawful

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             1   conduct" and declaration of "data breach" pursuant to Civil Code § 1798.80 et seq.]; Ex. E [Rubin

            2    Compl.] ~ 89 [seeking declaration related to UCL and Civil Code § 1798]; Ex. D [Beiner Compl.]

            3    ~   137 [seeking declaration of violation of UCL].) Other actions do seek monetary damages, unlike

            4    this one, but all of the relief sought here is subsumed within the relief sought in the MDL.

            5             Finally, there is no dispute that the three Plaintiffs-who allege that they are Facebook users

            6    who reside in California and assert that their Face book data was compromised by the Cambridge

            7    Analytica events (see Ballejos Compl.    ~~   11-13)-fall squarely within the class definitions at issue in

            8    the MDL, such that they would be bound by any judgment in the event that class certification is

            9    granted. Thus, if the Court stays this action, Plaintiffs are not left without a remedy-the same

           10    remedies they seek here will be available to them as putative class members in the MDL.

           11                                                   ARGUMENT
           12             California courts have inherent power to stay proceedings in the interests of justice and to

           13    promote judicial efficiency. (Freiberg v. City of Mission Viejo (1995) 33 Cal.App.4th 1484, 1489.)

           14    The California Supreme Court has made clear that these interests are particularly strong when a

           15    previously-filed federal action pending in California covers the same subject matter involved in a

           16    California state court action. (Thomson, supra, 66 Cal.2d at p. 747.) In such circumstances, "a

           17    strong policy of comity" favors entry of a stay. (Ibid.) Comis have long recognized that "the rule of

           18    comity"-wherein courts of concurrent jurisdictions created by different sovereignties yield to the

           19    first-filed action-"rests upon principles of wisdom and justice" and "prevent[s] ... conflicting
          20     judgments, confusion, and unseemly controversy between the litigants and courts." (Simmons v.

          21     Superior Court (1950) 96 Cal.App.2d 119, 124.) These considerations are all the more powerful

          22     when "the federal court is of equal convenience to the parties and witnesses as is the state court"

          23     because it is located in the same state. (Caiafa Prof Law Corp. v. State Farm Fire & Cas. Co.

          24     (1993) 15 Cal.App.4th 800, 807.) Under Thompson, the existence of a federal action pending "in

          25     California [and] not some other state" is a "critical factor" favoring a stay. (Id. at p. 804.)

           26             In considering whether to enter a stay, California courts consider whether: (1) the parallel

           27    federal action is in California, such that any prejudice to California parties will be minimized; (2) a

           28    stay will help avoid "unseemly conflicts" between state and federal courts, (3) the federal court can

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               1   adequately determine the rights of the parties, and (4) a stay will promote judicial economy. (Id. at

               2   pp. 806-07; Thomson, supra, 66 Cal.2d at 746-47; Berg v. MTC Elecs. Techs. Co. (1998) 61

               3   Cal.App.4th 349, 353, 363.) Each factor compels entry of a stay here.

               4
                   I.        This Action Involves the Same Subject Matter as the Federal Actions and the Legal
               5             Claims and Requested Relief Here are Subsumed Within the Federal MDL

               6             As noted above, California courts strongly favor staying a pending action in favor of a

               7   substantially similar action pending in a California federal court. (See, e.g., Thomson, supra, 66

               8   Cal.2d at p. 747; Caiafa, supra, 15 Cal.App.4th at p. 804 [California action properly stayed in favor
               9   of federal action pending in the Southern District of California]; Berg, supra, 61 Cal.App.4th at p.
           10      363 [California action filed by California resident properly stayed in favor of pending MDL in New

           11      York federal court].) A stay is appropriate in these circumstances because the "strong interests of

           12      comity" between the state and federal systems prevail over convenience concerns that otherwise

           13      might be present if the state court plaintiff were forced to coordinate with a federal action in another
           14      state.

           15                Here, this action and the MDL actions are substantially similar to the actions that have been

           16      consolidated into the federal MDL. As explained above, both sets of actions arise from the recent

           17      allegations involving Cambridge Analytica. The MDL actions alleged California statutory causes of

           18      action similar to those alleged here, and the requests for injunctive and declaratory relief that

           19      Plaintiffs assert here are fully subsumed within the broader such requests encompassed within the
           20      federal MDL. (See supra at pp. 4-6.) Indeed, as in the MDL actions, Plaintiffs here allege that
           21      "other [third parties] exploited Facebook's platform to obtain user data, and that Facebook should

           22      have imposed more robust controls on the use of data." (See Ex. A [J.P.M.L. Transfer Order].)
           23      There can be no dispute that, had this action been filed in federal court, it would have been included

           24      in the MDL. This action thus satisfies the threshold stay requirement.

           25      II.       The Stay Factors Weigh Heavily In Favor Of Staying This Action Pending The MDL

           26                A.     The Parallel Federal MDL in California Is a Crucial Factor Favoring a Stay
           27                The California Supreme Court has stated that when-as here-the parallel federal action is
           28      also in California, "a strong policy of comity" favors entry of a stay. (Thomson, supra, 66 Cal.2d at

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            1    p. 747.) Indeed, this policy is so strong that, where the prior action is pending in California federal

            2    court, comis have said that the stay is not simply "a matter of discretion" but rather "a rule oflaw."

            3    (Ibid. [citing Simmons, supra 96 Cal.App.2d at p. 124].) As a result, a federal action pending "in

            4    California [and] not some other state" is a "critical factor" favoring a stay. (Caiafa, supra, 15

            5    Cal.App.4th at p. 804.)

            6           This rule applies with equal force when the federal case is a class action brought by a different

            7    named plaintiff, so long as the state comi plaintiff is within the class definition in the federal action

            8    and would be afforded relief though that action. (See Ex. G [ Van Zant v. Apple Inc. (May 19, 2011)

            9    Santa Clara Super. Ct. No. 1-10-CV-177571, Order Granting Defendant Apple Inc.'s Motion to Stay

           10    and Granting in Part Defendant Apple Inc.'s Request for Judicial Notice ("Apple Order")] at p. 3

           11    [staying state court action pending an MDL in the Northern District of California because, in pmi,

           12    "the federal action is pending in California, not some other state"].)

           13            In this case, the "critical factor" favoring a stay is met. The federal MDL is pending in

           14    California, and includes 20 actions originally filed in the N 01ihern District of California and 1 action

           15    originally filed in the Central District of California. Accordingly, "a strong policy of comity"

           16    supports a stay. (Thomson, supra, 66 Cal.2d at p. 747.)

           17            B.     This Case Presents an Imminent and Pervasive Risk of Conflicting Rulings and
                                Duplicative, Inefficient Litigation
           18

           19            A stay of this action pending the MDL also would avoid "unseemly conflicts with the courts

          20     of other jurisdictions." (Caiafa, supra, 15 Cal.App.4th at p. 806; see also Thomson, supra, 66 Cal.2d

          21     at p. 747.) Overlapping actions in federal and state courts present a "quite likely scenario" of conflict

          22     if the federal and state co mis will adjudicate the same issues. (Caiafa, supra, 15 Cal.App.4th at

          23     p. 807.) When a state court action and an ongoing federal MDL share "substantial similarities in

          24     allegations and issues ... , there is a real potential for conflicts with the MDL action"-a concern that

           25    "weighs strongly in favor of staying the [state court] matter." (Ex. G [Apple Order] at p. 3.) A stay

           26    pending the outcome of parallel federal litigation is appropriate, even if claims are not identical, when

           27    the state court claims "aris[e] out of the same circumstances" as the federal action. (Thomson, supra,

           28    at p. 747, fn. 5.) That is particularly true where, as here, the whole point of the federal MDL is to

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             1   resolve similar actions in an efficient and fair manner-interests that would be defeated if parallel

            2    state court proceedings were allowed to create an end run around the federal MDL process.

             3          Here, there is a significant chance that conflicts between state and federal courts will occur if

            4    the federal MDL and this action proceed simultaneously. As discussed above, these actions arise out

             5   of identical allegations, are premised on the same legal theories, and seek overlapping relief.

            6    Adjudication of these claims will involve resolution of common legal and factual questions and

             7   identical requests for discovery. On a motion to dismiss (in the MDL) or on a demurrer (in this

             8   Comi), a central issue will be whether plaintiffs have standing to assert claims under Sections 17200

             9   and 17500 because they have not "suffered injury in fact and ... lost money or property" as a result of

           10    the alleged misappropriation of their data by third parties who misused Facebook's platform. (See

           11    Bus. & Prof. Code §§ 17204, 17535.) Allowing this action to proceed risks inconsistent rulings on

           12    that fundamental threshold issue. These overlapping issues also create a significant risk that, if these

           13    cases proceed beyond a motion to dismiss or demurrer, this Court and the MDL court may enter

           14    conflicting rulings on discovery disputes: for example, this Court could rule that Facebook must

           15    disclose certain information or produce certain witnesses for deposition while the MDL court rules

           16    that it should not. The potential for conflict on legal issues and discovery burdens favors a stay.

           17           C.      The MDL Will Resolve the Rights of the Parties to This Action

           18           A stay is appropriate when the federal action "almost certainly would determine" the state

           19    court issues. (Caiafa, supra, 15 Cal.App.4th at p. 806.) That is the case here. At the outset, there is

          20     no dispute but that the Plaintiffs here are members of the MDL class: each Plaintiff alleges that she

          21     "has a Facebook account and received notification that her personal data may have been accessed by

          22     the [thisisyourdigitiallife] [a]pp without her consent, (Ballejos Compl. ,i,i 11-13)-allegations that

          23     fall squarely within the MDL class definitions encompassing "[a]ll persons who registered for

          24     Facebook accounts in the United States and whose Personal information was obtained from Facebook

          25     by Cambridge Analytica without authorization or in excess of authorization" (e.g., Ex. C [Price

          26     Compl.] ,i 24). Any certified class in the MDL would encompass Plaintiffs' claims here, and would

          27     entitle Plaintiffs to the same relief (including injunctive and declaratory relief) that may result from

          28     the MDL and that they seek here.

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             1          Any merits ruling in the MDL also would address the claims at issue here. Most of the

            2    federal actions in the MDL include the same UCL claims Plaintiffs assert here, and those actions also

            3    include broad claims for declaratory and injunctive relief that fully encompass the more specific

            4    topics that Plaintiffs list in their Complaint. (See Ex. C [Price Compl.] 146 [seeking injunctive relief

            5    based on alleged UCL violation]; Ex. E [Rubin Compl.]      ~   89 [same]; Ex. F [O'Kelly Compl.]   ~~   52,

            6    57 [same]; Ex. D [Beiner Compl.] 1137 [seeking declaration of violation of UCL]; Ex. E [Rubin

            7    Compl.] 189 [same].) And Plaintiffs' allegations under§ 17500 allege that Facebook's statements

            8    regarding its data policies were "untrue and/or misleading," (Ballejos Compl. ~ 75), are encompassed

            9    by the common law misrepresentation claims alleged in some of the MDL complaints, (see Ex. F

           10    [O'Kelly Compl.] 1165-69).
           11           Adjudication of the federal actions contained in the MDL will resolve most if not all of the

           12    legal and factual issues underlying Plaintiffs' claims and, if successful, would provide Plaintiffs with

           13    the same declaratory and injunctive relief that they seek here. For example, the Rubin Complaint

           14    seeks virtually identical injunctive relief as Plaintiffs seek here, including stopping allegedly unlawful

           15    and unfair business practices and submitting to third-party audits. (See Ex. E [Rubin Compl.]       1~ 70-
           16    71, 89.) If the MDL court ultimately certifies a nationwide class, Plaintiffs would be entitled to

           17    whatever relief is awarded to class members. The likelihood that adjudication of the federal actions

           18    will resolve most, if not all, of the issues relevant to Plaintiffs' claims, weighs heavily in favor of a

           19    stay pending resolution of the MDL. (Cf. Berg, supra, 61 Cal.App.4th at p. 363 [noting that federal

          20     MDL would "likely ... determine at least some of the key issues among the parties"]; Simmons,

          21     supra, 96 Cal.App.2d at pp. 125, 128 [finding it "manifest" that the Superior Court "abused its
          22     discretion in not staying, as a matter of comity, further proceedings in the California action under the

          23     final determination of the Texas action" when "[t]he Texas action and the California action are

           24    between the same parties and involve the same subject matter"].)

           25            D.     A Stay Will Promote Judicial Economy

           26            Considerations of judicial economy also favor a stay. Both the federal MDL procedure and

           27    California's analogous provision presume that coordinating materially identical actions before a

           28    single judge saves resources of the judiciary as a whole. (See 28 U.S.C. § 1407(a) [requiring

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             1   consolidation for pretrial proceedings when doing so would "promote the just and efficient conduct

            2    of such actions"]; McGhan Med. Corp v. Superior Court (1992), 11 Cal.App.4th 804, 813-14

            3    [addressing Cal. Code Civ. Proc. § 404].) In a perfect world, this action too could be consolidated

            4    within the MDL to proceed alongside its materially identical siblings. As the rules do not allow that

            5    outcome, the most efficient alternative-and the one that affords appropriate respect to the ongoing

            6    federal proceedings and the policies underlying the federal MDL process-is to stay this case

            7    pending resolution of the federal MDL. (Berg, supra, 61 Cal.App.4th at pp. 353, 363.) Absent a

             8   stay, there would be two courts deciding identical issues on motions to dismiss/demurrers, two courts

            9    deciding similar discovery disputes, and two courts deciding whether the identical discovery was

           10    sufficient to survive motions for summary judgment. This Court should not devote its limited

           11    resources to adjudicate this copy-cat action. Judicial economy favors a stay.

           12                                                CONCLUSION

           13           In considering the relevant factors as a whole, and finding that all of them favored a stay, the

           14    Caiafa court stated that it was "difficult ... to see how the trial court could have exercised its

           15    discretion in any other way but to grant [the defendant's] request for a stay of the state court

           16    proceedings ... pending the outcome of the federal ... action." (Caiafa, supra, 15 Cal.App.4th at

           17    p. 807.) The same is true here. All of the factors counsel in favor of a stay "pending the result of the

           18    first-filed MDL action." (Ex. G [Apple Order] at p. 3.) For these reasons, this Court should stay this

           19    action pending a resolution of the MDL proceedings.

           20

          21     Dated: July 27, 2018                           GIBSON, DUNN & CRUTCHER LLP

           22

           23                                                   By:          Isl Joshua Lipshutz
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